 1   Michael G. Kasolas
     PO Box 26650
 2   San Francisco, CA 94126-6650
     (415) 504-1926
 3
     Trustee in Bankruptcy
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 8                                     UNITED STATES BANKRUPTCY COURT

 9                       NORTHERN DISTRICT OF CALIFORNIA - OAKLAND DIVISION

10   In re:                                                            Case No. 19-41633 CN
11   Felipe M Cortez                                                   Chapter 7
12                                                                     TRUSTEE¶S REQUEST FOR NOTICE
                                                                       OF POSSIBLE DIVIDEND
13   Debtor(s)
14

15

16   TO THE CLERK:

17   A claims bar date in this case has not been set and the trustee has not previously requested a Notice of

18   3RVVLEOH 'LYLGHQG ,W DSSHDUV WKDW WKHUH PD\ EH VXIILFLHQW DVVHWV DYDLODEOH IRU WKH SD\PHQW RI D GLYLGHQG WR

19   FUHGLWRUV $FFRUGLQJO\ WKH WUXVWHH UHTXHVWV SXUVXDQW WR ) 5 % 3  D  WKDW D FODLPV EDU GDWH EH

20   set and a Notice of Possible Dividend be sent to all creditors.

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22
     Dated: September 20, 2019                                  /s/ Michael G. Kasolas
23
                                                                Michael G. Kasolas, BANKRUPTCY TRUSTEE
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